                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA


 UNITED STATES OF AMERICA                          )
                                                   )
 v.                                                )             Case No. 1:09-CR-98
                                                   )
 DIAZ BENTON                                       )             MATTICE/CARTER

                                             ORDER

        On September 17, 2009, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant Diaz Benton’s (“Defendant”)

 plea of guilty to Count One of the Indictment, to the extent it charges distribution and possession

 with the intent to distribute fifty (50) grams or more of a mixture or substance containing a

 detectable amount of cocaine base (crack), in exchange for the undertakings made by the

 government in the written plea agreement; (b) the Court adjudicate Defendant guilty of the

 charges set forth in Count One of the Indictment, to the extent it charges distribution and

 possession with the intent to distribute fifty (50) grams or more of a mixture or substance

 containing a detectable amount of cocaine base (crack); (c) that a decision on whether to accept

 the plea agreement be deferred until sentencing; and (d) Defendant shall remain in custody

 pending sentencing in this matter (Doc. 239). Neither party filed an objection within the given

 ten days. After reviewing the record, the Court agrees with the magistrate judge’s report and

 recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

 report and recommendation pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1) Defendant’s plea of guilty to Count One of the Indictment, to the extent it charges

 distribution and possession with the intent to distribute fifty (50) grams or more of a mixture or




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 substance containing a detectable amount of cocaine base (crack), in exchange for the

 undertakings made by the government in the written plea agreement is ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

 Indictment, to the extent it charges distribution and possession with the intent to distribute fifty

 (50) grams or more of a mixture or substance containing a detectable amount of cocaine base

 (crack);

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL REMAIN in custody pending sentencing on Monday,

 December 14, 2009, at 9:00 am.

        SO ORDERED.

        ENTER:

                                                             /s/Harry S. Mattice, Jr.
                                                             HARRY S. MATTICE, JR.
                                                        UNITED STATES DISTRICT JUDGE




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